          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                        CRIMINAL NO. 3:01CR11-2


UNITED STATES OF AMERICA                   )
                                           )
                                           )
                  VS.                      )           ORDER
                                           )
                                           )
TERRY W. STEWART                           )
                                           )


      THIS MATTER is before the Court on a second remand from the

United States Fourth Circuit Court of Appeals. See United States v.

Stewart, 2007 WL 4561485 (4th Cir. Dec. 28, 2007).

      Pursuant to the Circuit’s remand, and for all the reasons cited by the

Court in the Order filed August 27, 2007, the Court finds that the Defendant

has failed to establish excusable neglect for the late filing of his appeal of

this Court’s Order denying his motion to alter or amend the Court’s Order

denying reconsideration of his criminal judgment, and his appeal of this

Court’s Order denying his motion for adjustment of restitution payments.

The length of the delay is prejudicial to the Government, the Defendant’s

delay and frivolous pursuit of these appeals impacts the judicial




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proceedings, and the Court has previously found that the Defendant has

failed to act in good faith. It was implicit in the previous August 27 Order

that these factors were considered by the Court; however, the Court finds

that the reason for Defendant’s delay is nothing more than harassment of

the judicial system.

      IT IS, THEREFORE, ORDERED that the Defendant has failed to

show excusable neglect or good cause for failing to timely appeal the

rulings cited above.

      The record, having been supplemented as directed by the Fourth

Circuit, may now be returned to that Court for further proceedings.

                                      Signed: January 4, 2008




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